                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION


UNITED STATES OF AMERICA                  )                         Case No.: 3:12-CR-239
                                          )
      vs.                                 )
                                          )
CARRIE TYSON (13)                         )
_________________________________________ )

                                              ORDER


       THIS MATTER IS BEFORE THE COURT sua sponte regarding Defendant’s recent

letter filings and the Government’s Notice in Response (Doc. No. 525). Based on these filings,

the Court will conduct an inquiry into status of counsel hearing to determine if current counsel

can continue to represent the Defendant.

       IT IS THEREFORE ORDERED that the Court will conduct a hearing on Tuesday

March 18, 2014 at 2 p.m. in Courtroom 3 in the Charlotte Division.

               IT IS FURTHER ORDERED that the United States Marshal Service and the

Bureau of Prisons shall produce and transport the body of Defendant Carrie Tyson, a federal

prison inmate, who is a party in the above-captioned case, to be present at this hearing before the

Honorable Graham C. Mullen.

       The Clerk of Court shall certify copies of this Order to the U.S. Marshal Service and the

Bureau of Prisons.

SO ORDERED.                                Signed: March 3, 2014




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